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 10
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 11
                           UNITED STATES DISTRICT COURT
 12
                         CENTRAL DISTRICT OF CALIFORNIA
 13
                                    SOUTHERN DIVISION
 14
      RENO MAY, an individual;               Case No.: 8:23-cv-01696 CJC (ADSx)
 15   ANTHONY MIRANDA, an individual;
      ERIC HANS, an individual; GARY         PLAINTIFFS’ NOTICE OF MOTION
 16   BRENNAN, an individual; OSCAR A.       AND MOTION FOR PRELIMINARY
      BARRETTO, JR., an individual;          INJUNCTION
 17   ISABELLE R. BARRETTO, an
      individual; BARRY BAHRAMI, an          Hearing Date:    December 4, 2023
 18   individual; PETE STEPHENSON, an        Hearing Time:    1:30 p.m.
      individual; ANDREW HARMS, an           Courtroom:       9B
 19   individual; JOSE FLORES, an            Judge:           Hon. Cormac J. Carney
      individual; DR. SHELDON HOUGH,
 20   DDS, an individual; SECOND
      AMENDMENT FOUNDATION; GUN
 21   OWNERS OF AMERICA; GUN
      OWNERS FOUNDATION; GUN
 22   OWNERS OF CALIFORNIA, INC.;
      THE LIBERAL GUN CLUB, INC.; and
 23   CALIFORNIA RIFLE & PISTOL
      ASSOCIATION, INCORPORATED,
 24
                          Plaintiffs,
 25                v.
 26   ROBERT BONTA, in his official
      capacity as Attorney General of the
 27   State of California, and DOES 1-10,
 28                       Defendants.


         NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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  1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         Notice is hereby given that on December 4, 2023, at 1:30 p.m. in Courtroom
  3   9B of the above-captioned court, located at 411 West Fourth Street in Santa Ana
  4   California, Plaintiffs of Plaintiffs Reno May, Anthony Miranda, Eric Hans, Gary
  5   Brennan, Tony Barretto, Isabelle R. Barretto, Barry Bahrami, Pete Stephenson, Jose
  6   Flores, Andrew Harms, Dr. Sheldon Hough, DDS, The Second Amendment
  7   Foundation, Gun Owners of America, Gun Owners Foundation, Gun Owners of
  8   California, Inc., the Liberal Gun Club, Inc., and the California Rifle & Pistol
  9   Association, Incorporated (collectively, “Plaintiffs”) will move for a preliminary
 10   injunction under Rule 65(a) of the Federal Rules of Civil Procedure. Specifically,
 11   Plaintiffs will seek an order temporarily enjoining Defendant, his employees,
 12   agents, successors in office, and all other public officials or law enforcement
 13   officers in California, from enforcing California Penal Code § 26230, subds. (5),
 14   (7), (8), (9), (11), (12), (13), (17), (22), (23), and (26) against any individuals with
 15   concealed handgun licenses issued pursuant to California Penal Code sections
 16   26150 or 26155.
 17         Plaintiffs bring this motion because California Penal Code § 26230, which
 18   will take effect on January 1, 2024, violates the rights of Plaintiffs’ members with
 19   concealed handgun licenses in two major ways: it prohibits them from carrying
 20   firearms in nearly every relevant place besides streets and sidewalks and it denies
 21   them due process by not requiring such places to post signs notifying them that
 22   guns are not allowed on a particular property. In addition, some Plaintiffs who are
 23   business owners raise First Amendment claims as well because § 26230 compels
 24   their speech if they desire to allow people to exercise their constitutional right to
 25   carry at their business.
 26         This application is made on the grounds set forth in the accompanying
 27   memorandum of points and authorities; the signed declarations of each of the
 28   plaintiffs; the signed declaration of Clayton Cramer, the signed declaration of Brian
                                                  2
          NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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  1   Marvel, the signed declaration of Moris Davidovitz, all pleadings and papers filed
  2   in this action, the argument of counsel, and further evidence as the Court may
  3   consider before ruling on the preliminary injunction requested herein.
  4         Respectfully Submitted,
  5
      Dated: September 29, 2023             MICHEL & ASSOCIATES, P.C.
  6
                                            /s/ C.D. Michel
  7                                         C.D. Michel
                                            Counsel for Plaintiffs
  8
  9
 10   Dated: September 29, 2023             LAW OFFICES OF DON KILMER
                                            /s/ Don Kilmer
 11                                         Don Kilmer
                                            Counsel for Plaintiff Second Amendment
 12                                         Foundation
 13
 14
 15                     ATTESTATION OF E-FILED SIGNATURES
 16         I, C.D. Michel, am the ECF User whose ID and password are being used to
 17   file this PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR
 18   PRELIMINARY INJUNCTION. In compliance with Central District of California
 19   L.R. 5-4.3.4, I attest that all signatories are registered CM/ECF filers and have
 20   concurred in this filing.
 21   Dated: September 29, 2023              /s/ C.D. Michel
                                             C.D. Michel
 22
 23
 24
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                                   3
         NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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  1
                              CERTIFICATE OF SERVICE
  2                     IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  3
      Case Name: May, et al. v. Bonta
  4   Case No.: 8:23-cv-01696 CJC (ADSx)
  5
      IT IS HEREBY CERTIFIED THAT:
  6
             I, the undersigned, am a citizen of the United States and am at least eighteen
  7   years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
  8   Beach, California 90802.

  9          I am not a party to the above-entitled action. I have caused service of:
 10   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY
      INJUNCTION
 11
 12   on the following party by electronically filing the foregoing with the Clerk of the
      District Court using its ECF System, which electronically notifies them.
 13
      Robert L. Meyerhoff, Deputy Attorney General
 14   California Department of Justice
 15   300 South Spring Street, Suite 1702
      Los Angeles, CA 90013
 16   Email: Robert.Meyerhoff@doj.ca.gov
            Attorney for Defendant
 17
             I declare under penalty of perjury that the foregoing is true and correct.
 18
 19   Executed September 29, 2023.
 20
                                                    Laura Palmerin
 21
 22
 23
 24
 25
 26
 27
 28

                                  CERTIFICATE OF SERVICE
